                     Case 3:23-cv-08089-DGC Document 3-2 Filed 05/19/23 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District
                                                   __________       of Arizona
                                                              District of __________

    New Parent World, LLC, a New Jersey for-profit                 )
        corporation (d/b/a My Baby Experts),                       )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No.
                                                                   )
           True To Life Productions, Inc., et al.                  )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Heritage House ’76, Incorporated
                                           919 S. Main Street
                                           Snowflake, AZ 85937




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Monica Pertea and David Johns
                                           ASPEY WATKINS & DIESEL, PLLC
                                           123 N. San Francisco Street, 3rd Floor
                                           Flagstaff, Arizona 86001
                                           MPertea@awdlaw.com; DJohns@awdlaw.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                       Case 3:23-cv-08089-DGC Document 3-2 Filed 05/19/23 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Heritage House ’76, Incorporated
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
